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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                               :
                                                       :
                                                       :       Case No. 21-cr-160-3 (TJK)
        v.                                             :
                                                       :
FELICIA KONOLD                                         :


               JOINT STATUS REPORT REGARDING RESUMPTION OF
             DEFENDANT FELICIA KONOLD’S ELETRONIC MONITORING

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, and defendant Felicia Konold, by and through her counsel, Albert S. Watkins and

Alyssa Marie Cross, respectfully submit this Joint Status Report Regarding Resumption of

Defendant Felicia Konold’s Electronic Monitoring, and state:

       1.         On or about February 26, 2021, the Court issued its Order Setting Conditions of

Release pursuant to which defendant was placed on home detention and ordered to submit to

location monitoring as directed by the pretrial services office or supervising officer. Dkt. 37 at

¶ 7(p) and (q).

       2.         On or about September 17, 2021, the Court modified defendant’s home detention

to home curfew between the hours of 9:00 p.m. and 6:00 a.m., and suspended defendant’s

electronic monitoring during the two weeks before and after her expected due date.

       3.         On or about October 8, 2021, the Court suspended defendant’s electronic

monitoring effective that day, until further order of the Court.

       4.         On or about November 6, 2021, defendant filed her Status Memorandum on

Defendant’s Pretrial Release and requested that the condition of location monitoring be removed.

       5.         Counsel for the government has confirmed that defendant’s pretrial services officer
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has no objection to terminating defendant’s electronic monitoring.

        6.       The government does not oppose terminating defendant’s electronic monitoring at

this time, as such a decision appears to be within the discretion of the pretrial services office

pursuant to paragraph 7(q) of the Order Setting Conditions of Release. Dkt. 37. However, the

government does not view it as necessary or prudent for the Court to terminate the pretrial services

office’s discretion to reimpose electronic monitoring, pursuant to paragraph 7(q), should it be

deemed necessary for defendant’s pretrial release supervision in the future.

        7.       The undersigned Assistant U.S. Attorney has received permission from counsel for

defendant to file this joint status report.

                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052

                                              By:    /s/ Christopher K. Veatch
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